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                               UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF CONNECTICUT
                                      HARTFORD DIVISION

       In re: JULIAN, ANDREW JOHN                                   §   Case No. 11-30151-JJT
                                                                    §
                                                                    §
   Debtor(s)                                                        §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         RONALD I. CHORCHES, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $2,260,877.55                       Assets Exempt: $22,115.04
 (without deducting any secured claims)
 Total Distribution to Claimants:$593,261.28         Claims Discharged
                                                     Without Payment: $20,268,671.54

 Total Expenses of Administration:$393,636.65


         3) Total gross receipts of $    986,897.93 (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $       0.00    (see Exhibit 2 ), yielded net receipts of $986,897.93
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $1,100,733.00     $16,190,358.88             $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00         395,972.83        393,636.65         393,636.65

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00          10,214.05               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                  8,253,434.38      39,367,184.81      12,951,498.44        593,261.28

                                        $9,354,167.38     $55,963,730.57     $13,345,135.09       $986,897.93
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on January 25, 2011.
  The case was pending for 74 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 05/14/2018                 By: /s/RONALD I. CHORCHES
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                          UNIFORM                                $ AMOUNT
               DESCRIPTION
                                                                                         TRAN. CODE 1                            RECEIVED
     Chorches vs. Fifty Spot, LLC                                                        1241-000                                 884,027.75

     Chorches vs. Select Properties, LLC                                                 1241-000                                  90,000.00

     CHAPTER 11 DIP TD BANK CHECKING ACCOUNT                                             1290-010                                  12,870.18


    TOTAL GROSS RECEIPTS                                                                                                         $986,897.93

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                          UNIFORM                                $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                         TRAN. CODE                                 PAID
                                                                  None

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                               $0.00
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS           CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED            PAID
                                                       CODE                6D)
           4 -2 Shaw's New London, LLC                 4110-000            N/A                14,783,856.45               0.00                  0.00

          10      TD Bank N.A.                         4110-000             926,733.00           902,243.46               0.00                  0.00

          11      People's United Bank                 4110-000            N/A                   254,081.60               0.00                  0.00

          12      People's United Bank                 4110-000            N/A                   250,177.37               0.00                  0.00

 NOTFILED         PJ's Construction                    4110-000              85,000.00            N/A                   N/A                     0.00

 NOTFILED         Key Bank                             4110-000              89,000.00            N/A                   N/A                     0.00


    TOTAL SECURED CLAIMS                                                 $1,100,733.00       $16,190,358.88              $0.00                 $0.00




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EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                         UNIFORM
    PAYEE                                             CLAIMS          CLAIMS          CLAIMS         CLAIMS
                                          TRAN.
                                                     SCHEDULED       ASSERTED        ALLOWED          PAID
                                          CODE
 Trustee Compensation - RONALD I. CHORCHES    2100-000        N/A        52,594.90     52,594.90       52,594.90

 Trustee Expenses - RONALD I. CHORCHES        2200-000        N/A          488.03        488.03          488.03

 U.S. Trustee Quarterly Fees - United         2950-000        N/A          650.00        650.00          650.00
 States Trustee
 Other - COMMISSIONER REVENUE SERVICE         2820-002        N/A        33,500.00     33,500.00       33,500.00

 Other - Silverstein Appraisal Services,      2500-000        N/A        10,800.00     10,800.00       10,800.00
 LLC
 Other - GRAHAM THOMPSON                      3210-002        N/A          740.00        740.00          740.00

 Other - GRAHAM THOMPSON                      3220-000        N/A          255.00        255.00          255.00

 Other - IRVE GOLDMAN, ESQ.                   3721-000        N/A         4,787.08      4,787.90        4,787.90

 Clerk of the Court Costs (includes           2700-000        N/A          586.00        586.00          586.00
 adversary and other filing fees) - CLERK
 Other - BLUM, SHAPIRO & COMPANY, P.C.        3410-000        N/A        18,000.00     18,000.00       18,000.00

 Attorney for Trustee Fees (Trustee Firm) - 3110-000          N/A       195,277.50    193,139.50      193,139.50
 THE LAW OFFICES OF RONALD I. CHORCHES
 Attorney for Trustee Expenses (Trustee     3120-000          N/A         3,491.60      3,292.60        3,292.60
 Firm) - THE LAW OFFICES OF RONALD I.
 Other - UNITED STATES TREASURY             2810-000          N/A        39,188.00     39,188.00       39,188.00

 Other - The Bank of New York Mellon          2600-000        N/A           25.00           25.00         25.00

 Other - The Bank of New York Mellon          2600-000        N/A          101.08        101.08          101.08

 Other - The Bank of New York Mellon          2600-000        N/A           88.62           88.62         88.62

 Other - The Bank of New York Mellon          2600-000        N/A           97.60           97.60         97.60

 Other - The Bank of New York Mellon          2600-000        N/A           94.34           94.34         94.34

 Other - The Bank of New York Mellon          2600-000        N/A           85.03           85.03         85.03

 Other - The Bank of New York Mellon          2600-000        N/A          100.03        100.03          100.03

 Other - The Bank of New York Mellon          2600-000        N/A           90.73           90.73         90.73

 Other - Rabobank, N.A.                       2600-000        N/A           59.15           59.15         59.15

 Other - RONALD I. CHORCHES, TRUSTEE          2300-000        N/A           37.31           37.31         37.31

 Other - Rabobank, N.A.                       2600-000        N/A           78.18           78.18         78.18

 Other - Rabobank, N.A.                       2600-000        N/A          143.53        143.53          143.53

 Other - Rabobank, N.A.                       2600-000        N/A          176.62        176.62          176.62

 Other - Rabobank, N.A.                       2600-000        N/A          225.57        225.57          225.57

 Other - Rabobank, N.A.                       2600-000        N/A          239.53        239.53          239.53

 Other - Rabobank, N.A.                       2600-000        N/A          222.26        222.26          222.26

 Other - Rabobank, N.A.                       2600-000        N/A          300.72        300.72          300.72


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 Other - Rabobank, N.A.                  2600-000        N/A          301.05       301.05           301.05

 Other - Rabobank, N.A.                  2600-000        N/A          309.60       309.60           309.60

 Other - Rabobank, N.A.                  2600-000        N/A          376.31       376.31           376.31

 Other - Rabobank, N.A.                  2600-000        N/A          334.27       334.27           334.27

 Other - RONALD I. CHORCHES, TRUSTEE     2300-000        N/A           86.75           86.75         86.75

 Other - Rabobank, N.A.                  2600-000        N/A          423.36       423.36           423.36

 Other - Rabobank, N.A.                  2600-000        N/A          416.61       416.61           416.61

 Other - Rabobank, N.A.                  2600-000        N/A          397.78       397.78           397.78

 Other - Rabobank, N.A.                  2600-000        N/A          437.05       437.05           437.05

 Other - Rabobank, N.A.                  2600-000        N/A          499.07       499.07           499.07

 Other - Rabobank, N.A.                  2600-000        N/A          496.99       496.99           496.99

 Other - Rabobank, N.A.                  2600-000        N/A          501.79       501.79           501.79

 Other - Rabobank, N.A.                  2600-000        N/A          588.65       588.65           588.65

 Other - Rabobank, N.A.                  2600-000        N/A          534.80       534.80           534.80

 Other - Rabobank, N.A.                  2600-000        N/A          621.58       621.58           621.58

 Other - Rabobank, N.A.                  2600-000        N/A          628.56       628.56           628.56

 Other - Rabobank, N.A.                  2600-000        N/A          564.36       564.36           564.36

 Other - RONALD I. CHORCHES, TRUSTEE     2300-000        N/A          342.14       342.14           342.14

 Other - Rabobank, N.A.                  2600-000        N/A          736.64       736.64           736.64

 Other - Rabobank, N.A.                  2600-000        N/A          669.28       669.28           669.28

 Other - Rabobank, N.A.                  2600-000        N/A          640.74       640.74           640.74

 Other - Rabobank, N.A.                  2600-000        N/A          766.25       766.25           766.25

 Other - Rabobank, N.A.                  2600-000        N/A          723.59       723.59           723.59

 Other - Rabobank, N.A.                  2600-000        N/A          699.56       699.56           699.56

 Other - Rabobank, N.A.                  2600-000        N/A          770.85       770.85           770.85

 Other - Rabobank, N.A.                  2600-000        N/A          745.62       745.62           745.62

 Other - Rabobank, N.A.                  2600-000        N/A          696.48       696.48           696.48

 Other - Rabobank, N.A.                  2600-000        N/A          767.52       767.52           767.52

 Other - Rabobank, N.A.                  2600-000        N/A          718.39       718.39           718.39

 Other - Rabobank, N.A.                  2600-000        N/A          693.44       693.44           693.44

 Other - RONALD I. CHORCHES, TRUSTEE     2300-000        N/A          200.17       200.17           200.17

 Other - Rabobank, N.A.                  2600-000        N/A          787.91       787.91           787.91

 Other - Rabobank, N.A.                  2600-000        N/A          689.28       689.28           689.28

 Other - Rabobank, N.A.                  2600-000        N/A          688.26       688.26           688.26




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 Other - Rabobank, N.A.                       2600-000            N/A                   782.21         782.21        782.21

 Other - Rabobank, N.A.                       2600-000            N/A                   686.22         686.22        686.22

 Other - Rabobank, N.A.                       2600-000            N/A                   680.43         680.43        680.43

 Other - Rabobank, N.A.                       2600-000            N/A                   771.41         771.41        771.41

 Other - Rabobank, N.A.                       2600-000            N/A                   676.75         676.75        676.75

 Other - Rabobank, N.A.                       2600-000            N/A                   769.02         769.02        769.02

 Other - Rabobank, N.A.                       2600-000            N/A                   698.01         698.01        698.01

 Other - Rabobank, N.A.                       2600-000            N/A                   673.78         673.78        673.78

 Other - Rabobank, N.A.                       2600-000            N/A                   741.54         741.54        741.54

 Other - RONALD I. CHORCHES, TRUSTEE          2300-000            N/A                   178.52         178.52        178.52

 Other - Rabobank, N.A.                       2600-000            N/A                   690.69         690.69        690.69

 Other - Rabobank, N.A.                       2600-000            N/A                   784.90         784.90        784.90

 Other - Rabobank, N.A.                       2600-000            N/A                   765.13         765.13        765.13

 Other - Rabobank, N.A.                       2600-000            N/A                   845.59         845.59        845.59

 Other - Rabobank, N.A.                       2600-000            N/A                   757.60         757.60        757.60

 Other - Rabobank, N.A.                       2600-000            N/A                 1,430.47       1,430.47       1,430.47

 Other - Rabobank, N.A.                       2600-000            N/A                 1,346.82       1,346.82       1,346.82

 Other - Rabobank, N.A.                       2600-000            N/A                 1,283.75       1,283.75       1,283.75

 Other - GRAHMAM THOMPSON AND CO CLIENT       2990-000            N/A                    31.88          31.88          31.88

 TOTAL CHAPTER 7 ADMIN. FEES                                N/A                   $395,972.83     $393,636.65    $393,636.65
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
    PAYEE                                               CLAIMS                 CLAIMS             CLAIMS         CLAIMS
                                        TRAN.
                                                       SCHEDULED              ASSERTED           ALLOWED          PAID
                                        CODE
                                                     None

 TOTAL PRIOR CHAPTER ADMIN.                                 N/A                          $0.00          $0.00          $0.00
 FEES AND CHARGES


EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                       UNIFORM          CLAIMS                 CLAIMS
   CLAIM                                               SCHEDULED              ASSERTED            CLAIMS         CLAIMS
    NO.           CLAIMANT              TRAN.            (from Form          (from Proofs of     ALLOWED          PAID
                                        CODE                 6E)                  Claim)
      1    Internal Revenue Service       5800-000                    0.00            3,214.05           0.00           0.00

      5    State of Connecticut           5800-000          N/A                       7,000.00           0.00           0.00




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 TOTAL PRIORITY UNSECURED                                   $0.00            $10,214.05           $0.00             $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                       UNIFORM      CLAIMS               CLAIMS
   CLAIM                                           SCHEDULED            ASSERTED           CLAIMS             CLAIMS
    NO.           CLAIMANT              TRAN.      (from Form          (from Proofs of    ALLOWED              PAID
                                        CODE           6F)                  Claim)
      1 -2 Internal Revenue Service     7100-000      N/A                    N/A                    0.00             0.00

      2     Cherry Hill Construction    7100-000        20,000.00             20,000.00        20,000.00          916.14

      3     KeyBank,N.A.                7100-000      N/A                     20,634.50             0.00             0.00

      3 -2 KeyBank,N.A.                 7100-000      N/A                     20,634.50        20,634.50          945.19

      4     Shaw's New London, LLC      7100-000                0.00      14,783,856.45             0.00             0.00

      4 -3 Shaw's New London, LLC       7100-000      N/A                 12,745,318.49    12,745,318.49       583,816.91

      7     Andrew Julian and Jason     7100-000       165,000.00            165,545.45       165,545.45         7,583.04
            Julian
      8     TD Bank, N.A.               7100-000       158,000.00            157,012.98             0.00             0.00

      9     TD Bank, N.A.               7100-000      N/A                 11,454,182.44             0.00             0.00

 NOTFILED   People's Bank               7100-000       400,000.00            N/A                  N/A                0.00

 NOTFILED   JE Robert Company, Inc. c/o 7100-000     7,308,400.00            N/A                  N/A                0.00
            Shipman & Goodwin, Inc.
 NOTFILED   Laura Fejes                 7100-000        20,000.00            N/A                  N/A                0.00

 NOTFILED   Berchem, Moses & Devlin     7100-000       154,123.38            N/A                  N/A                0.00

 NOTFILED   Bank of America             7100-000        27,911.00            N/A                  N/A                0.00

 TOTAL GENERAL UNSECURED                            $8,253,434.38        $39,367,184.81   $12,951,498.44      $593,261.28
 CLAIMS




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                                                                                                                                                                  Exhibit 8


                                                                                Form 1                                                                            Page: 1

                                             Individual Estate Property Record and Report
                                                              Asset Cases
Case Number: 11-30151-JJT                                                               Trustee:        (270090)     RONALD I. CHORCHES
Case Name:         JULIAN, ANDREW JOHN                                                  Filed (f) or Converted (c): 02/15/12 (c)
                                                                                        §341(a) Meeting Date:        03/27/12
Period Ending: 05/14/18                                                                 Claims Bar Date:             06/25/12

                                 1                                      2                           3                     4              5                   6

                     Asset Description                               Petition/            Estimated Net Value         Property      Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,   Abandoned      Received by      Administered (FA)/
                                                                      Values            Less Liens, Exemptions,      OA=§554(a)      the Estate       Gross Value of
Ref. #                                                                                      and Other Costs)                                         Remaining Assets

 1        14 Esther Place, Branford, CT218                          1,200,000.00                          0.00                                0.00                    FA

 2        Residential lots Great Exhuma Bahamas                         Unknown                           0.00                                0.00                    FA
            Lots are on unsaleable due to location, desirability
          and debtor's minority or partial interests.

 3        TD Bank Checking                                                   20.00                        0.00                                0.00                    FA

 4        Household Goods                                               5,000.00                          0.00                                0.00                    FA

 5        Dell Computer                                                     500.00                        0.00                                0.00                    FA

 6        Books, pictures and other art                                 2,000.00                          0.00                                0.00                    FA

 7        Wearing Apparel                                               1,000.00                          0.00                                0.00                    FA

 8        Pension Local 478 Operating Engrs                                   0.00                        0.00                                0.00                    FA

 9        A Julian Companies 100% Interest                              Unknown                           0.00                                0.00                    FA

10        Signature Properties-Shaws Cove 25%                           Unknown                           0.00                                0.00                    FA

11        Promissory Note-Fifty Spot Associates                       976,357.55                          0.00                                0.00                    FA

12        2006 GMC                                                     11,000.00                          0.00                                0.00                    FA

13        2004 30 ft Sea Ray                                           65,000.00                          0.00                                0.00                    FA

14        Chorches vs. Fifty Spot, LLC (u)                            300,000.00                    884,027.75                          884,027.75                    FA

15        Chorches vs. Select Properties, LLC (u)                     200,000.00                    200,000.00                           90,000.00                    FA

16        Post Petition Transfers (u)                                         0.00                        0.00                                0.00                    FA

17        CHAPTER 11 DIP TD BANK CHECKING ACCOUNT                      23,015.22                     12,870.18                           12,870.18                    FA
          (u)
            Non-Exempt Funds in Account at time of Conversion

18        Refund for Overpayment of 2016 CTDRS Taxes                          0.00                        0.00                                0.00                    FA
            ITEM ENTERED IN ERROR AS AN ASSET.
          AMOUNT WAS A REFUND FOR PAYMENT MADE
          BY ESTATE FOR 2016 TAX RETURN

 18      Assets       Totals (Excluding unknown values)             $2,783,892.77               $1,096,897.93                         $986,897.93                  $0.00



      Major Activities Affecting Case Closing:




                                                                                                                                   Printed: 05/14/2018 05:03 PM    V.13.32
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                                                                                                                                                                Exhibit 8


                                                                         Form 1                                                                                 Page: 2

                                         Individual Estate Property Record and Report
                                                          Asset Cases
Case Number: 11-30151-JJT                                                      Trustee:        (270090)     RONALD I. CHORCHES
Case Name:       JULIAN, ANDREW JOHN                                           Filed (f) or Converted (c): 02/15/12 (c)
                                                                               §341(a) Meeting Date:        03/27/12
Period Ending: 05/14/18                                                        Claims Bar Date:             06/25/12

                              1                                    2                       3                      4                    5                   6

                    Asset Description                           Petition/        Estimated Net Value         Property             Sale/Funds          Asset Fully
         (Scheduled And Unscheduled (u) Property)             Unscheduled   (Value Determined By Trustee,   Abandoned             Received by      Administered (FA)/
                                                                 Values        Less Liens, Exemptions,      OA=§554(a)             the Estate       Gross Value of
Ref. #                                                                             and Other Costs)                                                Remaining Assets

     Initial Projected Date Of Final Report (TFR):   December 31, 2013           Current Projected Date Of Final Report (TFR):       December 18, 2017 (Actual)




                                                                                                                                 Printed: 05/14/2018 05:03 PM     V.13.32
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                                                                                                                                                                          Exhibit 9


                                                                             Form 2                                                                                       Page: 1

                                                   Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                              Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                       Bank Name:          The Bank of New York Mellon
                                                                                              Account:            ****-******62-65 - Checking Account
Taxpayer ID #: **-***5629                                                                     Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                       Separate Bond: N/A

   1            2                           3                                 4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                  $       Account Balance
04/25/12      {17}       Andrew J. Julian               Funds in DIP Checking Account at TD Bank at      1290-010             12,870.18                               12,870.18
                                                        conversion
04/25/12      {14}       Ballina Properties LLC         Acct #1; Payment #1; Proceeds from               1241-000             16,000.00                               28,870.18
                                                        receivables
04/26/12      {14}       Ballina Properties, LLC        Acct #1; Payment #2; Proceeds from note          1241-000             16,000.00                               44,870.18
04/30/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         25.00       44,845.18
05/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                        101.08       44,744.10
06/29/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         88.62       44,655.48
07/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         97.60       44,557.88
08/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         94.34       44,463.54
09/28/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         85.03       44,378.51
10/31/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                        100.03       44,278.48
11/30/12                 The Bank of New York Mellon    Bank and Technology Services Fee                 2600-000                                         90.73       44,187.75
12/13/12                 RABOBANK MIGRATION             TRANSFER TO 0001027009088                        9999-000                                   44,187.75                0.00
                         TRANSFER OUT                   20121213

                                                                            ACCOUNT TOTALS                                    44,870.18             44,870.18               $0.00
                                                                                   Less: Bank Transfers                            0.00             44,187.75
                                                                            Subtotal                                          44,870.18                  682.43
                                                                                   Less: Payments to Debtors                                               0.00
                                                                            NET Receipts / Disbursements                     $44,870.18                 $682.43




{} Asset reference(s)                                                                                                                  Printed: 05/14/2018 05:03 PM        V.13.32
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                                                Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                        Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                 Bank Name:          The Bank of New York Mellon
                                                                                        Account:            ****-******62-66 - Checking Account
Taxpayer ID #: **-***5629                                                               Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                 Separate Bond: N/A

   1            2                         3                             4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                               Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From       Description of Transaction               T-Code              $                  $       Account Balance

   (No Transactions on File for this Period)                          ACCOUNT TOTALS                                         0.00                  0.00               $0.00
                                                                             Less: Bank Transfers                            0.00                  0.00
                                                                      Subtotal                                               0.00                  0.00
                                                                             Less: Payments to Debtors                                             0.00
                                                                      NET Receipts / Disbursements                          $0.00                 $0.00




{} Asset reference(s)                                                                                                            Printed: 05/14/2018 05:03 PM        V.13.32
                    Case 11-30151                  Doc 480    Filed 05/29/18                   Entered 05/29/18 18:21:28                              Page 12 of 18

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                                                   Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                                Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                         Bank Name:          Rabobank, N.A.
                                                                                                Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                       Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                         Separate Bond: N/A

   1            2                          3                                    4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                       Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction               T-Code              $                  $       Account Balance
12/14/12                 RABOBANK MIGRATION             RABOBANK MIGRATION                                 9999-000            44,187.75                                44,187.75
                         TRANSFER IN
12/31/12                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                        59.15        44,128.60
01/23/13     11001       RONALD I. CHORCHES, TRUSTEE BOND PREMIUM PAYMENT ON LEDGER                        2300-000                                        37.31        44,091.29
                                                        BALANCE AS OF 12/01/2012 FOR CASE
                                                        #11-30151, Bond #016027937 12-1-12 to
                                                        12-1-13
01/25/13      {14}       Ballina Properties, LLC        Acct #1; Payment #3; Proceeds from Note -          1241-000            10,338.18                                54,429.47
                                                        October 2012
01/25/13      {14}       Ballina Properties, LLC        Acct #1; Payment #4; Proceeds from Note -          1241-000            16,000.00                                70,429.47
                                                        November 2012
01/25/13      {14}       Ballina Properties, LLC        Acct #1; Payment #5; Proceeds from Note -          1241-000            16,000.00                                86,429.47
                                                        December 2012
01/25/13      {14}       Ballina Properties, LLC        Acct #1; Payment #6; Proceeds from Note -          1241-000            16,000.00                            102,429.47
                                                        January 2013
01/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                        78.18    102,351.29
02/19/13      {14}       Ballina Properties LLC         Acct #1; Payment #7; Proceeds from Note            1241-000            16,000.00                            118,351.29
02/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       143.53    118,207.76
03/12/13      {14}       Ballina Properties LLC         Acct #1; Payment #8; Proceeds from                 1241-000            16,000.00                            134,207.76
                                                        Promisory Note
03/29/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       176.62    134,031.14
04/03/13      {14}       Ballina Properties LLC         Acct #1; Payment #9; Proceeds from note            1241-000            16,000.00                            150,031.14
04/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       225.57    149,805.57
05/08/13      {14}       Ballina PRoperties LLC         Acct #1; Payment #10; Proceeds from                1241-000            16,000.00                            165,805.57
                                                        promissory note
05/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       239.53    165,566.04
06/28/13      {14}       Ballina Properties LLC         Acct #1; Payment #11; Proceeds from                1241-000            16,000.00                            181,566.04
                                                        Promissory Note
06/28/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       222.26    181,343.78
07/09/13      {14}       Ballina Properties LLC         Acct #1; Payment #12; Proceeds from Note           1241-000            16,000.00                            197,343.78
                                                        due from Fifty Spot~
07/31/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       300.72    197,043.06
08/06/13      {14}       Ballina Properties LLC         Acct #1; Payment #13; Proceeds from                1241-000            16,000.00                            213,043.06
                                                        Promissory Note
08/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       301.05    212,742.01
09/09/13      {14}       Ballina Properties LLC         Acct #1; Payment #14; Proceeds from                1241-000            16,000.00                            228,742.01
                                                        Promissory Note
09/30/13                 Rabobank, N.A.                 Bank and Technology Services Fee                   2600-000                                       309.60    228,432.41

                                                                                                Subtotals :                  $230,525.93              $2,093.52
{} Asset reference(s)                                                                                                                    Printed: 05/14/2018 05:03 PM        V.13.32
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                                                                                      Form 2                                                                                     Page: 4

                                                   Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                                     Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                              Bank Name:          Rabobank, N.A.
                                                                                                     Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                            Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                              Separate Bond: N/A

   1            2                           3                                         4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                   Description of Transaction                T-Code              $                  $       Account Balance
10/08/13      {14}       Ballina Properties LLC                Acct #1; Payment #15; Proceeds for               1241-000            16,000.00                            244,432.41
                                                               Promissory Note
10/11/13     11002       Silverstein Appraisal Services, LLC   Per Court Order 10/10/13 Payment to Real         2500-000                                    4,200.00     240,232.41
                                                               Estate Appraiser
10/31/13                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       376.31    239,856.10
11/08/13      {14}       Andrew J. Julian                      Acct #1; Payment #16; Proceeds from              1241-000            16,000.00                            255,856.10
                                                               Promissory Note
11/29/13                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       334.27    255,521.83
12/01/13     11003       RONALD I. CHORCHES, TRUSTEE BOND PREMIUM PAYMENT ON BANK                               2300-000                                        86.75    255,435.08
                                                               BALANCE AS OF 12/01/2013 FOR CASE
                                                               #11-30151, Bond #016027937 12-1-13 to
                                                               12-1-2014
12/05/13      {14}       Ballina Properties LLC                Acct #1; Payment #17; Proceeds from              1241-000            16,000.00                            271,435.08
                                                               Promissory Note
12/31/13                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       423.36    271,011.72
01/10/14      {14}       Ballina Properties LLC                Acct #1; Payment #18; Proceeds from              1241-000            16,000.00                            287,011.72
                                                               settlement
01/31/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       416.61    286,595.11
02/10/14      {14}       Ballina Properties LLC                Acct #1; Payment #19; Proceeds from              1241-000            16,000.00                            302,595.11
                                                               Preference Complaint
02/28/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       397.78    302,197.33
03/06/14      {14}       Ballina Properties LLC                Acct #1; Payment #20; Proceeds from              1241-000            16,000.00                            318,197.33
                                                               Settlement
03/31/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       437.05    317,760.28
04/14/14      {14}       Ballina Properties LLC                Acct #1; Payment #21; Proceeds from              1241-000            16,000.00                            333,760.28
                                                               Preference complaint
04/30/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       499.07    333,261.21
05/06/14      {14}       Ballina Properties LLC                Acct #1; Payment #22; Proceeds from              1241-000            16,000.00                            349,261.21
                                                               preference complaint
05/30/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       496.99    348,764.22
06/05/14      {14}       Ballina Properties LLC                Acct #1; Payment #23; Proceeds from              1241-000            16,000.00                            364,764.22
                                                               Preference Complaint
06/30/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       501.79    364,262.43
07/14/14      {14}       Ballina Properties LLC                Acct #1; Payment #24; Proceeds from              1241-000            16,000.00                            380,262.43
                                                               Preference Complaint
07/31/14                 Rabobank, N.A.                        Bank and Technology Services Fee                 2600-000                                       588.65    379,673.78
08/19/14      {14}       Ballina Properties LLC                Acct #1; Payment #25; Proceeds from              1241-000            16,000.00                            395,673.78
                                                               preference complaint

                                                                                                     Subtotals :                  $176,000.00              $8,758.63
{} Asset reference(s)                                                                                                                         Printed: 05/14/2018 05:03 PM        V.13.32
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                                                   Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                              Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                       Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                     Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                       Separate Bond: N/A

   1            2                          3                                   4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                  $       Account Balance
08/29/14                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       534.80    395,138.98
09/09/14      {14}       Ballina Properties LLC         Acct #1; Payment #26; Proceeds from              1241-000            16,000.00                            411,138.98
                                                        Preference Complaint
09/30/14                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       621.58    410,517.40
10/06/14      {14}       Ballina Properties, LLC        Acct #1; Payment #27; Proceeds from              1241-000            16,000.00                            426,517.40
                                                        Preference Complaint
10/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       628.56    425,888.84
11/07/14      {14}       Ballina Properties LLC         Acct #1; Payment #28; Proceeds from              1241-000            16,000.00                            441,888.84
                                                        Preference Complaint
11/28/14                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       564.36    441,324.48
12/01/14     11004       RONALD I. CHORCHES, TRUSTEE BOND PREMIUM PAYMENT ON BANK                        2300-000                                       342.14    440,982.34
                                                        BALANCE AS OF 10/31/2014 FOR CASE
                                                        #11-30151, CHAPTER 7 BLANKET BOND
                                                        #016027937 12-1-14 TO 12-1-15
12/05/14      {14}       Ballina Properties LLC         Acct #1; Payment #29; Proceeds from              1241-000            16,000.00                            456,982.34
                                                        Preference Complaint
12/31/14                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       736.64    456,245.70
01/12/15      {14}       Ballina Properties LLC         Acct #1; Payment #30; Proceeds from              1241-000            16,000.00                            472,245.70
                                                        Preference Complaint
01/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       669.28    471,576.42
02/13/15      {14}       Ballina Properties LLC         Acct #1; Payment #31; Proceeds from              1241-000            16,000.00                            487,576.42
                                                        Preference Complaint
02/27/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       640.74    486,935.68
03/05/15      {14}       Ballina Properties LLC         Acct #1; Payment #32; Proceeds from              1241-000            16,000.00                            502,935.68
                                                        preference
03/24/15     11005       GRAHAM THOMPSON                3-19-15 COURT ORDER AUTHORIZING                  3210-002                                   1,000.00      501,935.68
                                                        EMPLOYMENT AND PAYMENT OF A
                                                        $1,000.00 RETAINER
03/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       766.25    501,169.43
04/13/15      {14}       Ballina Properties, LLC        Acct #1; Payment #33; Proceeds from              1241-000              2,689.57                           503,859.00
                                                        preference complaint
04/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       723.59    503,135.41
05/29/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       699.56    502,435.85
06/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       770.85    501,665.00
07/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       745.62    500,919.38
08/31/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       696.48    500,222.90
09/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       767.52    499,455.38
10/30/15                 Rabobank, N.A.                 Bank and Technology Services Fee                 2600-000                                       718.39    498,736.99

                                                                                              Subtotals :                  $114,689.57            $11,626.36
{} Asset reference(s)                                                                                                                  Printed: 05/14/2018 05:03 PM        V.13.32
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                                                   Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                                      Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                               Bank Name:          Rabobank, N.A.
                                                                                                      Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                             Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                               Separate Bond: N/A

   1            2                          3                                          4                                               5                     6                 7

 Trans.     {Ref #} /                                                                                                             Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From                    Description of Transaction                T-Code              $                  $       Account Balance
11/30/15                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       693.44    498,043.55
12/13/15     11006       RONALD I. CHORCHES, TRUSTEE BOND PREMIUM PAYMENT ON BANK                                2300-000                                       200.17    497,843.38
                                                               BALANCE AS OF 10/31/2015 FOR CASE
                                                               #11-30151, Bond #016027937 Region 2
                                                               Blanket Bond
12/31/15                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       787.91    497,055.47
01/29/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       689.28    496,366.19
03/01/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       688.26    495,677.93
03/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       782.21    494,895.72
04/25/16     11007       GRAHAM THOMPSON                       PAYMENT OF COMPENSATION OF $740.00 3210-000                                                      740.00    494,155.72
                                                               TO ATTORNEY FOR THE TRUSTEE
                                                               PURSUANT TO 4-18-16 COURT ORDER
04/25/16     11008       GRAHAM THOMPSON                       aREIMBURSEMENT OF EXPENSES OF                     3220-000                                       255.00    493,900.72
                                                               $255.00 TO ATTORNEY FOR THE TRUSTEE
                                                               PURSUANT TO 4-18-16 COURT ORDER
04/25/16     11009       Silverstein Appraisal Services, LLC   Per Court Order 04/18/16 authorizing payment 2500-000                                        3,700.00      490,200.72
                                                               to Real Estate Appraiser $3,700.00.
04/29/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       686.22    489,514.50
05/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       680.43    488,834.07
06/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       771.41    488,062.66
07/29/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       676.75    487,385.91
08/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       769.02    486,616.89
09/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       698.01    485,918.88
10/31/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       673.78    485,245.10
11/17/16     11010       Silverstein Appraisal Services, LLC   Per Court Order 11/09/16 authorizing payment      2500-000                                   2,900.00      482,345.10
                                                               to Real Estate Appraiser $2,900.00.
11/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       741.54    481,603.56
12/11/16     11011       RONALD I. CHORCHES, TRUSTEE BOND PREMIUM PAYMENT ON BANK                                2300-000                                       178.52    481,425.04
                                                               BALANCE AS OF 10/31/2016 FOR CASE
                                                               #11-30151, BOND #016027937 BLANKET
                                                               BOND PREMIUM REGION 2
12/30/16                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       690.69    480,734.35
01/19/17      {15}       The Wright Law Firm LLC               Proceeds from Settlement vs Select Properties     1241-000            90,000.00                            570,734.35
                                                               et al
01/31/17                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       784.90    569,949.45
02/28/17                 Rabobank, N.A.                        Bank and Technology Services Fee                  2600-000                                       765.13    569,184.32
03/22/17     11012       Pullman & Comley, LLC                 Per Court Order Dated 2-17-17 Payment of          3721-000                                   4,000.00      565,184.32
                                                               Mediation Fee in Adv Pro 12-03077

                                                                                                      Subtotals :                   $90,000.00            $23,552.67
{} Asset reference(s)                                                                                                                          Printed: 05/14/2018 05:03 PM        V.13.32
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                                                 Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                              Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                       Bank Name:          Rabobank, N.A.
                                                                                              Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                     Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                       Separate Bond: N/A

   1            2                         3                                    4                                              5                     6                 7

 Trans.     {Ref #} /                                                                                                     Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From            Description of Transaction                T-Code              $                  $       Account Balance
03/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                  2600-000                                       845.59    564,338.73
04/28/17                 Rabobank, N.A.                Bank and Technology Services Fee                  2600-000                                       757.60    563,581.13
05/01/17      {14}       HINCKLEY ALLEN & SNYDER LLP   Acct #1; Payment #34; FINAL PAYMENT RE            1241-000           375,000.00                            938,581.13
                                                       COMPROMISE OF CLAIM WITH FIFTY SPOT
05/08/17     11013       IRVE GOLDMAN, ESQ.            FINAL PAYMENT OF MEDIATOR FEE IN                  3721-000                                       787.90    937,793.23
                                                       ADVERSARY PRO. NO. 11-30151
05/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                  2600-000                                    1,430.47     936,362.76
06/30/17                 Rabobank, N.A.                Bank and Technology Services Fee                  2600-000                                    1,346.82     935,015.94
07/13/17     11014       UNITED STATES TREASURY        EIN: XX-XXXXXXX 2017 FORM 1041                    2810-000                                   18,761.00     916,254.94
07/13/17     11015       UNITED STATES TREASURY        EIN: XX-XXXXXXX 2014 FORM 1041                    2810-000                                    7,707.00     908,547.94
07/13/17     11016       UNITED STATES TREASURY        EIN: XX-XXXXXXX 2013 FORM 1041                    2810-000                                   12,720.00     895,827.94
07/13/17     11017       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2012 FORM CT-1041                 2820-000                                    2,171.00     893,656.94
                         SERVICE
07/13/17     11018       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2013 FORM CT-1041                 2820-000                                   10,245.00     883,411.94
                         SERVICE
07/13/17     11019       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2014 FORM CT-1041                 2820-000                                    7,975.00     875,436.94
                         SERVICE
07/13/17     11020       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2015 FORM CT-1041                 2820-000                                    1,194.00     874,242.94
                         SERVICE
07/13/17     11021       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2016 FORM CT-1041                 2820-002                                        50.00    874,192.94
                         SERVICE
07/13/17     11022       COMMISSIONER REVENUE          EIN: XX-XXXXXXX 2017 FORM CT-1041                 2820-000                                   11,915.00     862,277.94
                         SERVICE
07/31/17                 Rabobank, N.A.                Bank and Technology Services Fee                  2600-000                                    1,283.75     860,994.19
08/18/17                 GRAHMAM THOMPSON AND CO       WIRE TRANSFER RETURN OF RETAIN                                                                   -968.12   861,962.31
                         CLIENT
                            GRAHAM THOMPSON                RETURN OF RETAINER           -1,000.00        3210-002                                                 861,962.31
                                                           FROM GRAHAM
                                                           THOMPSON
                                                           Foreign bank service fee           31.88      2990-000                                                 861,962.31
10/10/17                 State of Connecticut          Refund of overpayment for 2016 taxes              2820-002                                        -50.00   862,012.31
01/22/18     11023       RONALD I. CHORCHES            Dividend paid 100.00% on $488.03, Trustee         2200-000                                       488.03    861,524.28
                                                       Expenses; Reference:
01/22/18     11024       RONALD I. CHORCHES            Dividend paid 100.00% on $52,594.90,              2100-000                                   52,594.90     808,929.38
                                                       Trustee Compensation; Reference:
01/22/18     11025       United States Trustee         Dividend paid 100.00% on $650.00, U.S.            2950-000                                       650.00    808,279.38
                                                       Trustee Quarterly Fees; Reference:
01/22/18     11026       CLERK                         Dividend paid 100.00% on $586.00, Clerk of        2700-000                                       586.00    807,693.38

                                                                                                Subtotals :                $375,000.00        $132,490.94
{} Asset reference(s)                                                                                                                  Printed: 05/14/2018 05:03 PM        V.13.32
                    Case 11-30151                   Doc 480      Filed 05/29/18                  Entered 05/29/18 18:21:28                               Page 17 of 18

                                                                                                                                                                               Exhibit 9


                                                                                 Form 2                                                                                         Page: 8

                                                    Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                                   Trustee:            RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                            Bank Name:          Rabobank, N.A.
                                                                                                   Account:            ******8366 - Checking Account
Taxpayer ID #: **-***5629                                                                          Blanket Bond:       $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                            Separate Bond: N/A

   1            2                          3                                         4                                             5                     6                 7

 Trans.     {Ref #} /                                                                                                          Receipts        Disbursements    Checking
  Date      Check #         Paid To / Received From               Description of Transaction                  T-Code              $                  $       Account Balance
                                                          the Court Costs (includes adversary and other
                                                          filing fees); Reference:
01/22/18     11027       BLUM, SHAPIRO & COMPANY,         Dividend paid 100.00% on $18,000.00,                3410-000                                   18,000.00     789,693.38
                         P.C.                             Accountant for Trustee Fees (Other Firm);
                                                          Reference:
01/22/18     11028       THE LAW OFFICES OF RONALD I.     Dividend paid 100.00% on $193,139.50,               3110-000                                 193,139.50      596,553.88
                         CHORCHES                         Attorney for Trustee Fees (Trustee Firm);
                                                          Reference:
01/22/18     11029       THE LAW OFFICES OF RONALD I.     Dividend paid 100.00% on $3,292.60, Attorney        3120-000                                    3,292.60     593,261.28
                         CHORCHES                         for Trustee Expenses (Trustee Firm);
                                                          Reference:
01/22/18     11030       Cherry Hill Construction         Dividend paid 4.58% on $20,000.00; Claim#           7100-000                                       916.14    592,345.14
                                                          2; Filed: $20,000.00; Reference:
01/22/18     11031       KeyBank,N.A.                     Dividend paid 4.58% on $20,634.50; Claim# 3 7100-000                                               945.19    591,399.95
                                                          -2; Filed: $20,634.50; Reference:
01/22/18     11032       Shaw's New London, LLC           Dividend paid 4.58% on $12,745,318.49;              7100-000                                 583,816.91              7,583.04
                                                          Claim# 4 -3; Filed: $12,745,318.49; Reference:
01/22/18     11033       Andrew Julian and Jason Julian   Dividend paid 4.58% on $165,545.45; Claim#          7100-000                                    7,583.04                 0.00
                                                          7; Filed: $165,545.45; Reference:

                                                                                ACCOUNT TOTALS                                   986,215.50            986,215.50                $0.00
                                                                                         Less: Bank Transfers                     44,187.75                    0.00
                                                                                Subtotal                                         942,027.75            986,215.50
                                                                                         Less: Payments to Debtors                                             0.00
                                                                                NET Receipts / Disbursements                    $942,027.75        $986,215.50




{} Asset reference(s)                                                                                                                       Printed: 05/14/2018 05:03 PM        V.13.32
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                                                                                                                                                                     Exhibit 9


                                                                      Form 2                                                                                         Page: 9

                                                Cash Receipts And Disbursements Record
Case Number:        11-30151-JJT                                                        Trustee:             RONALD I. CHORCHES (270090)
Case Name:          JULIAN, ANDREW JOHN                                                 Bank Name:           Rabobank, N.A.
                                                                                        Account:             ******8367 - Checking Account
Taxpayer ID #: **-***5629                                                               Blanket Bond:        $19,960,270.00 (per case limit)
Period Ending: 05/14/18                                                                 Separate Bond: N/A

   1            2                         3                             4                                                5                     6                 7

 Trans.     {Ref #} /                                                                                                Receipts         Disbursements    Checking
  Date      Check #         Paid To / Received From       Description of Transaction                T-Code              $                   $       Account Balance

   (No Transactions on File for this Period)                          ACCOUNT TOTALS                                           0.00                  0.00              $0.00
                                                                             Less: Bank Transfers                              0.00                  0.00
                                                                      Subtotal                                                 0.00                  0.00
                                                                             Less: Payments to Debtors                                               0.00
                                                                      NET Receipts / Disbursements                            $0.00                 $0.00



                                                                                                                           Net              Net                  Account
                                                                      TOTAL - ALL ACCOUNTS                               Receipts      Disbursements             Balances

                                                                      Checking # ****-******62-65                       44,870.18                  682.43               0.00
                                                                      Checking # ****-******62-66                              0.00                  0.00               0.00
                                                                      Checking # ******8366                            942,027.75            986,215.50                 0.00
                                                                      Checking # ******8367                                    0.00                  0.00               0.00

                                                                                                                      $986,897.93        $986,897.93                   $0.00




{} Asset reference(s)                                                                                                             Printed: 05/14/2018 05:03 PM        V.13.32
